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                               UNITED STATES DISTRICT COURT
                               SOUTHERN DISTRICT OF FLORIDA
                                      MIAMI DIVISION

                              CASE NO. 14-24887-MC-SEITZ/LOUIS

  IN RE APPLICATION OF
  HORNBEAM CORPORATION

  REQUEST FOR DISCOVERY PURSUANT
  TO 28 U.S.C. § 1782
                                /

                                       NOTICE OF FILING

         Intervenors Panikos Symeou and Halliwel Assets, Inc., in further support of their response

  memorandum in opposition to the Hornbeam Parties’ Motion to Extend the Deadline to Destroy

  Discovery Materials, ECF 337, under the Stipulated Protective Order, ECF 224, as amended by

  Orders ECF No. 286, 318 and 325 (“SPO”), and, inter alia, requesting the Court to order the

  Hornbeam Parties to make the disclosures, destruction, and certifications pertaining to the

  Responsive Materials, submits the additional, conclusive evidence that Hornbeam Corporation

  does not intend to file new proceedings in the BVI and that the Hornbeam Parties intend to

  continue to violate the Stipulated Protective Order.

         Attached please find a verified complaint filed by Vadim Shulman and Bracha Foundation

  in Delaware Chancery Court on August 23, 2019. The complaint is based on the same allegations

  against, inter alia, the same defendants, Panikos Symeou and Halliwel Assets, Inc., and seeking

  the same damages which Hornbeam Corporation repeatedly promised to this Court that it would

  file in the BVI since December 2014.

         Notably, sole Applicant Hornbeam Corporation is not a plaintiff, which is consistent with

  the fact that Hornbeam completed its dissolution and cannot file new actions under Panama law.
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  Dated: August 29, 2019                                Respectfully submitted,

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                                                        Attorneys for Panikos Symeou and
                                                        Halliwel Assets Inc.


                                   CERTIFICATE OF SERVICE

         I HEREBY CERTIFY that a true and correct copy of the foregoing was filed via

  electronic filing using the CM/ECF filing system with the Clerk of the Court, which sent email

  notification of such filing to all CM/ECF participants in this case listed on the Service List on

  August 29, 2019

                                                        /s/ Sujey S. Herrera
                                                        Sujey S. Herrera, Esq.




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